       Case 2:20-cv-05792-GJP Document 17 Filed 05/14/21 Page 1 of 13




                  IN THE UNITED STATES DISTRICT COURT
               FOR THE EASTERN DISTRICT OF PENNSYLVANIA
                                                                         ____
                                             :
ERIC FARROW,                                 :
                           Plaintiff,        :
                                             :            Civil Action
                      v.                     :            No. 20-5792
                                             :
ERIK PROSS, et al.,                          :
                           Defendants.       :
                                             :

                                         ORDER


      AND NOW, this _________ day of __________________, 2021, upon consideration of

the Defendants’ Motion to Dismiss, it is HEREBY ORDERED that the Motion is GRANTED

and that the claims against Defendants are DISMISSED WITH PREJUDICE.




                                             BY THE COURT:




                                             ____________________________
         Case 2:20-cv-05792-GJP Document 17 Filed 05/14/21 Page 2 of 13




                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF PENNSYLVANIA
                                                                                     ____
                                                    :
ERIC FARROW,                                        :
                              Plaintiff,            :
                                                    :                 Civil Action
                      v.                            :                 No. 20-5792
                                                    :
ERIK PROSS, et al.,                                 :
                              Defendants.           :
                                                    :


     DEFENDANTS’ MOTION TO DISMISS FOR FAILURE TO STATE A CLAIM
       Defendants Police Officers Erik Pross, Robert Killman, Michael Boyes, Steven Hunter,

John Seigafuse and Thomas Schaffling, hereby file this Motion to Dismiss for Failure to State a

Claim pursuant to Federal Rule of Civil Procedure 12(b)(6). In support of this motion, the

Defendants incorporate the attached Memorandum of Law. Defendants respectfully request that

this Court dismiss the claims asserted against them with prejudice.



Date: May 14, 2021                                  Respectfully submitted,

                                                    /s/ Jenna L. Jankowski
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                                                2
         Case 2:20-cv-05792-GJP Document 17 Filed 05/14/21 Page 3 of 13




                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF PENNSYLVANIA
                                                                                     ____
                                                      :
ERIC FARROW,                                          :
                               Plaintiff,             :
                                                      :              Civil Action
                       v.                             :              No. 20-5792
                                                      :
ERIK PROSS, et al.,                                   :
                               Defendants.            :
                                                      :

                 MEMORANDUM OF LAW IN SUPPORT OF
     DEFENDANTS’ MOTION TO DISMISS FOR FAILURE TO STATE A CLAIM

       Plaintiff Eric Farrow seeks to sue the Defendants for malicious prosecution, false

arrest/false imprisonment and failure to intervene even though his claims against Police Officers

Erik Pross, Robert Killman, Michael Boyes, Steven Hunter, John Seigafuse and Thomas

Schaffling (“Added Defendants”) are barred by the statute of limitations. And even if they were

not, Plaintiff never attempted to serve – let alone effectuated service of – any individual Defendant

until long after the statutorily prescribed period for doing so had expired. Plaintiff has failed to

plead adequate facts to support his allegations. Accordingly, the Court should dismiss Plaintiff’s

Second Amended Complaint in its entirety.

I.     BACKGROUND

       In his Second Amended Complaint, Plaintiff alleges that on November 19, 2018, he was

arrested by the Added Defendants in relation to a narcotics investigation. See Second Amended


                                                 3
            Case 2:20-cv-05792-GJP Document 17 Filed 05/14/21 Page 4 of 13




Compl. See Docket No. 16 at ¶ 13. Plaintiff claims that on February 11, 2019, all charges were

dismissed in Philadelphia Municipal Court. Id. at ¶ 15. Plaintiff provided the docket number for

this criminal proceeding which, when searched, does not garner any results. 1 Plaintiff has failed

to provide any other facts about his alleged arrest, in particular the role that each of the Added

Defendants played in his arrest.

II.        PROCEDURAL HISTORY

           Plaintiff filed a complaint on November 18, 2020, wherein he named the City of

Philadelphia (the “City”) and John/Jane Doe Police Officers 1-15. See Docket No. 1. Plaintiff filed

an Amended Complaint on January 7, 2021, which dropped the claim against the City and named

only the John/Jane Doe Police Officers 1-14. See Docket No. 6. On March 22, 2021, this Court

Ordered that the Plaintiff file a proof of service or waiver with the Court before March 29, 2021.

See Docket No. 7. On March 29, 2021, Plaintiff’s counsel filed a purported Proof of Service on

“John Doe Philly PD Officer” in this matter in which he averred that he personally served

undersigned counsel with a summons. See Docket No. 8. In reality, however, neither undersigned

counsel nor anyone else within the City accepted service on behalf of a “John Doe Philly PD

Officer” as it is the City of Philadelphia’s practice to not accept service on behalf of John Doe

parties.




1
  A review of the Unified Judicial System of Pennsylvania Web Portal of the docket number does not garner any
results. As Plaintiff has brought a claim for malicious prosecution, it is likely those dockets have been expunged
from public record.




                                                          4
           Case 2:20-cv-05792-GJP Document 17 Filed 05/14/21 Page 5 of 13




         This Court then entered an Order on March 30, 2021, requiring Plaintiff to supplement his

Affidavit of Service with proof that the City accepted service on behalf of John Doe Officers by

April 2, 2021. See Docket No. 10. Twelve days after that deadline, on April 14, 2021, Plaintiff’s

counsel filed a Request for Extension of Time to file an Amended Complaint to replace John/Jane

Doe Police Officers in this matter. See Docket No. 11. Plaintiff’s request was granted and on April

27, 2021, Plaintiff filed a Second Amended Complaint against the Added Defendants and a

summons was issued. 2 See Docket No. 16. Plaintiff has never supplied the Court-ordered proof

of service, nor could he because there is none.

         As will be argued more fully below, Plaintiff’s Second Amended Complaint is barred by

the applicable statute of limitations. Furthermore, Plaintiff has failed to plead the Added

Defendants’ personal involvement in causing his harms.

III.     ARGUMENT

         A. The Court Should Dismiss this Lawsuit as the Statute of Limitations Has Run on
            All Plaintiff’s Claims

             1.            Most of Plaintiff’s Claims were Time-Barred When He
                           Filed this Lawsuit

         The Court should grant the motion and dismiss 3 this case against all Added Defendants

because the statute of limitations bars Plaintiff from suing them. The “statute of limitations for a


2
 At the time of filing of this motion, the Added Defendants have not been served with a copy of the Second
Amended Complaint.
3
 A plaintiff cannot survive a motion to dismiss under Rule 12(b)(6) without pleading “factual content that allows the
court to draw the reasonable inference that the defendant is liable for the misconduct alleged.” See Ashcroft v. Iqbal,
556 U.S. 662, 678 (2009). Under this standard, “[t]hreadbare recitals of the elements of a cause of action, supported
by mere conclusory statements, do not suffice.” See id. Put differently, while a court should accept the truth of a
complaint’s factual allegations, it should not credit a plaintiff’s “bald assertions” or “legal conclusions.” Morse v.
Lower Merion Sch. Dist., 132 F.3d 902, 906 (3d Cir. 1997) (citations and quotations omitted). Finally, courts may
                                                          5
          Case 2:20-cv-05792-GJP Document 17 Filed 05/14/21 Page 6 of 13




§ 1983 claim arising in Pennsylvania is two years.” See McCreary v. Redevelopment Auth., 427

F. App’x 211, 214 (3d Cir. 2011). The statute of limitations begins to run when the plaintiff's

cause of action accrues. Romero v. The Allstate Corp., 404 F.3d 212, 221 (3d Cir.2005). Further,

under the federal “discovery rule,” a federal claim accrues when the plaintiff discovers or should

have discovered the injury that forms the basis for the claim. Id. at 222. In the § 1983 context,

that date is typically the date of the plaintiff’s arrest. See, e.g., Hamidian v. Occulto, 854 F. Supp.

350, 353 (M.D. Pa. 1994); Strange v. Freeman, No. 11-7911, 2012 WL 707019, at *3 (E.D. Pa.

Mar. 6, 2012). In the malicious prosecution context, the date is the date of the dismissal of charges

against the plaintiff. A claim for malicious prosecution, however, “accrues on the date that the

proceedings terminated favorably for the accused.” Hiscock v. City of Philadelphia, 2013 WL

686350, at *3 (E.D. Pa. Feb. 26, 2013) (citing Thomas–Warner v. City of Phila., No. 11–5854,

2011 WL 6371898, at *6 (E.D.Pa. Dec.20, 2011)). In Hiscock, the court weighed the futility of

amendment to plaintiff’s complaint after the expiration of the statute of limitations. Id. (rejecting

the same argument presented here in directly analogous circumstances).

        Here, Plaintiff was arrested, and thus became aware of his injuries, on November 19, 2018.

See Second Amended Cmplt. at ¶¶ 13-15. Thus, Plaintiff’s claims against Added Defendants for




grant a motion to dismiss based on the statute of limitations. See Greer v. Diguglielmo, 348 F. App’x 702, 703 (3d
Cir. 2009).
                                                        6
           Case 2:20-cv-05792-GJP Document 17 Filed 05/14/21 Page 7 of 13




false arrest, false imprisonment, and failure to intervene began to run during that time period and

expired on November 19, 2020.

         Notably, Plaintiff’s malicious prosecution claim is also time-barred because Plaintiff never

sued the Added Defendants until April 27, 2021, well over two years after the February 11, 2019

dismissal of charges against him. 4

         2.       Plaintiff’s Lawsuit Must Also be Dismissed because Plaintiff Never Named
                  or Served the Added Defendants until Well After the Period for Doing so
                  Had Expired

         Federal Rule of Civil Procedure 4(m) requires that absent good cause, a defendant be

served with process within ninety (90) days after the complaint in that case is filed. Fed. R. Civ.

P. 4(m). In the event a defendant is not served with process during that statutorily prescribed time

period and plaintiff shows no good cause for their failure to do so, the court “must dismiss the

action without prejudice against that defendant or order that service be made within a specified

time.” Id (emphasis added).

         Here, when Plaintiff initiated this action on November 18, 2020, he did not name or serve

the Added Defendants. See Docket No. 1. In fact, Plaintiff failed to even name the Added

Defendants until April 27, 2021, one-hundred and sixty (160) days after the statute ran on the false

arrest/false imprisonment and failure to intervene claims, and seventy-five (75) days after the

statute of limitations ran on his malicious prosecution claim. And at the time of this filing, Plaintiff

still has not served the Added Defendants with process for this lawsuit at any time. Rule 4(m)




4
 Defendants note that as of the date Plaintiff filed his initial complaint, the statute of limitations had not run on any
malicious prosecution claim. Crucially, however, Plaintiff only named the City as a viable party in that complaint.
                                                           7
             Case 2:20-cv-05792-GJP Document 17 Filed 05/14/21 Page 8 of 13




requires that a defendant be served within ninety (90) days after the Complaint is filed absent good

cause. This was not done, and there is no good cause.

           If the statute of limitations has run, a plaintiff cannot “change the party or the naming of

the party” being sued unless he satisfies the conditions specified by Federal Rule of Civil

Procedure 15(c)(1)(C). See Fed. R. Civ. P. 15(c)(1)(C); Hiscock at 6 (citing Garvin v. City of

Phila., 354 F.3d 215, 220 (3d Cir. 2003)). This means that the “parties to be brought in by

amendment must have received notice of the institution of the action within [90] days 5 following

the filing of the action.” See id. at 220. Absent evidence that the party to be brought in by

amendment had actual notice of the lawsuit, a plaintiff must rely on the either the “shared attorney”

method or the “identity of interest” method to add a new party to his lawsuit. See id. at 222-23. If

a party seeks to replace the name John Doe with a party’s real name, it amounts to the changing

of a party or the naming of a party under Rule 15(c) and the amended complaint will relate back

only if the “three conditions specified in that rule are satisfied”. Garvin at 220.

           A Plaintiff seeking to rely on the “shared attorney method” must show that “notice of the

institution of [an] action can be imputed to [a newly named defendant] . . . by virtue of

representation [that the newly named defendant] shared with a defendant originally named in the

lawsuit.” See Singletary v. Pa. Dep’t of Corrs., 266 F.3d 186, 196 (3d Cir. 2001). In order to

make this showing, a plaintiff must plead facts which plausibly suggest that there was “some

communication or relationship” between the attorney for an originally named party and the party

to be added to a lawsuit. See Gavin, 354 F.3d at 225. Moreover, a plaintiff must adequately allege


5
    Rule 15(c)(1)(C) incorporates the above-referenced time period in Rule 4(m).


                                                           8
          Case 2:20-cv-05792-GJP Document 17 Filed 05/14/21 Page 9 of 13




that this communication or relationship developed within 90 days of the filing of the lawsuit. See

id. 6   If a plaintiff fails to plead facts which plausibly suggest a “shared representation or

communication” between a newly named party and an attorney for the originally named party,

then a court should not permit the newly named party to be sued. See id.

         Here, Plaintiff has failed to plead facts in his Second Amended Complaint which plausibly

suggest that the moving Defendants and the undersigned counsel have communicated about this

case, and he certainly has not pled facts which suggest that such communication occurred prior to

the statute of limitations running on all Defendants. Therefore, Plaintiff cannot rely on the “shared

attorney method,” and the statute of limitations bars him from suing the Added Defendants.

         If Plaintiff seeks to utilize the “identity of interest method”, his claims would likewise fail.

Parties share an identity of interest when they “are so closely related in their business operations

or other activities that the institution of the action against one serves to provide notice of the

litigation to the other.” Singletary v. Pennsylvania Dep't of Corr., 266 F.3d 186, 197 (3d Cir. 2001).

Under the identity of interest method, notice may be imputed if “the parties are so closely related

in their business operations or other activities that filing suit against one serves to provide notice

to the other of pending litigation.” Garvin at 227.

         No such shared “identity” exists between the originally named defendant in this action and

the Added Defendants in the instant case, and Plaintiff has not demonstrated any such identity of




6
 Although Garvin refers to a 120-day requirement rather than a 90-day requirement, Rule 15(c) requires that a newly
named party receive notice of a lawsuit “within the period provided by Rule 4(m) for serving the summons and
complaint,” and this period was recently changed from 120 days to 90 days. Since Plaintiff initiated this action in
November of 2020, see Docket No. 1, he would have to plead facts, which plausibly suggest that the undersigned
counsel and the Added Defendants communicated about this case prior to the end of February 2021.

                                                        9
          Case 2:20-cv-05792-GJP Document 17 Filed 05/14/21 Page 10 of 13




interest in his Second Amended Complaint. See Brown v. McElwee, 2012 WL 5948026, at *6

(E.D.Pa. Nov. 7, 2013) (declining to impute notice even though a police officer originally named

in the complaint and not dismissed in the proposed amended complaint shared an office with a

police officer proposed as a defendant). Although the original Defendant, the City of Philadelphia,

and the Added Defendants are related in their business, Plaintiff failed to provide any facts

whatsoever that would have informed the City that the Added Defendants were the officers who

allegedly caused Plaintiff’s harms. Plaintiff failed to provide the location, time, names or any other

identify factors to relate Plaintiff’s arrest to the Added Defendants. 7 Further, Plaintiff did not even

alert the City that he sought to identify the John Doe officers until February 23, 2021, well after

the statute of limitations had run on each of Plaintiff’s claims. 8 Plaintiff also admits that he learned

the identities of the Added Defendants on March 24, 2021 yet failed to file the Second Amended

Complaint until April 27, 2021, each of those dates also being past the statute of limitations. See

Docket No. 14.

         Accordingly, because Plaintiff failed serve any Added Defendant with process within the

mandatory period for doing so and can assert no good faith basis for failing to do so, and because




7
 Plaintiff’s counsel filed an identically factually barren complaint on November 19, 2020 naming John/Jane Doe
Police Officers, Tondreau v. City of Philadelphia, et al., Civ. No. 20-05813.
8
  Plaintiff requested “discovery/rule 26 disclosures” in an e-mail dated February 23, 2021. Rule 26(a)(1)(C) requires
that a party must make the initial disclosures at or within 14 days after the parties’ Rule 26(f) conference unless a
different time is set by stipulation or court order. To date, no Rule 26(f) conference has occurred in this matter.

                                                         10
        Case 2:20-cv-05792-GJP Document 17 Filed 05/14/21 Page 11 of 13




the statute of limitations on all of Plaintiff’s claims has now long since passed, this lawsuit must

be dismissed with prejudice in its entirety.

       B. Plaintiff’s Claims Against Defendants Must be Dismissed Because none of these
          Individuals Were Actually Involved in the Events Giving Rise to this Lawsuit.

       Even assuming, arguendo, that this lawsuit is permitted to proceed, the Court should

dismiss all claims as to Defendants because despite making generic and conclusory averments as

to their involvement in causing Plaintiff’s harms, Plaintiff fails to set forth any facts actually

connecting these defendants with the alleged incident. A plaintiff cannot sustain a § 1983 claim

without averring the existence of each defendant’s personal involvement in the actions giving rise

to the complaint. See Rode v. Dellarciprete, 845 F.2d 1195, 1207 (3d Cir. 1988). This rule requires

a complaint to include “allegations of personal direction or of actual knowledge and

acquiescence,” and such allegations “must be made with appropriate particularity.” See id.

Therefore, a plaintiff cannot survive a motion to dismiss by merely making conclusory allegations

of personal involvement. See Santiago v. Warminster Twp., 629 F.3d 121, 131 (3d Cir. 2010)

(holding that an allegation that supervisors “told [police officers] to do what they did” was

conclusory and failed to state a claim).

       The Plaintiff generally attributes his alleged malicious prosecution, false arrest/false

imprisonment and failure to intervene to all Added Defendants but Plaintiff fails to state how each

individual Defendant led to his arrest. Plaintiff does not plead a single fact as to the actual

involvement of any of the Added Defendants. Indeed, Plaintiff generically lumps these individuals

together in an attempt to blame all of them for his alleged harms, but pleads no facts as to any of

their whereabouts during the incident, their actions or which paperwork they allegedly completed,

                                                11
        Case 2:20-cv-05792-GJP Document 17 Filed 05/14/21 Page 12 of 13




which proceedings the Defendants initiated or any other fact which could reasonably put them on

notice of the specifics of his allegations against them. See Cmplt. at ¶¶ 18-24. Such generalized

allegations are specific to no defendant and thus cannot state a claim against any defendant. See

Agresta v. City of Philadelphia, 694 F. Supp. 117, 120 (E.D. Pa. 1988) (dismissing claims against

multiple defendants because plaintiff did not specifically allege which defendants had taken the

actions complained of); Banks v. Dictorate, Sci. & Tech. Ctr., No. 13-1712, 2014 WL 1278097, at

*7 (W.D. Pa. Mar. 27, 2014) (noting that a “generic reference to ‘Defendants’” is “insufficient” to

state a claim for relief). These Defendants should not be forced to defend themselves in court for

allegations that are so demonstrably boilerplate.


IV.    CONCLUSION

       For the reasons set forth above, Defendants respectfully request that the Court dismiss the

claims asserted against them with prejudice.

Date: May 14, 2021                                   Respectfully submitted,


                                                     /s/ Jenna L. Jankowski
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                                                12
        Case 2:20-cv-05792-GJP Document 17 Filed 05/14/21 Page 13 of 13




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                                                     :
ERIC FARROW,                                         :
                              Plaintiff,             :
                                                     :              Civil Action
                      v.                             :              No. 20-5792
                                                     :
CITY OF PHILADELPHIA, et al.,                        :
                    Defendants.                      :
                                                     :
                                CERTIFICATE OF SERVICE

       I hereby certify that on the date below, the Defendants’ Motion to Dismiss was filed via

the Court’s electronic filing system and is available for downloading.



Date: May 14, 2021                                  Respectfully submitted,

                                                     /s/ Jenna L. Jankowski
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                                               13
